USCA4 Appeal: 23-240      Doc: 1      Filed: 08/23/2023    Pg: 1 of 1


                                                                   FILED: August 23, 2023

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                      ___________________

                                            No. 23-240
                                       (8:21-cv-03044-TDC)
                                      ___________________

        NEWREZ LLC, d/b/a Shellpoint Mortgage Servicing

                       Petitioner

        v.

        IRENE YATES

                       Respondent


        This case has been opened as an original proceeding in this court. The district court
        is receiving this notice for informational purposes.

        Originating Court                United States District Court for the District of
                                         Maryland at Greenbelt
        Date Petition Filed:             08/23/2023
        Petitioner                       NewRez

        Appellate Case Number            23-240
        Case Manager                     Kirsten Hancock
                                         804-916-2704
